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17                          UNITED STATES DISTRICT COURT
18                         CENTRAL DISTRICT OF CALIFORNIA
                                 SOUTHERN DIVISION
19
20
21     JOHN C. EASTMAN                      Case No. 8:22-cv-00099-DOC-DFM
22                Plaintiff,
23     vs.
24
       BENNIE G. THOMPSON, et al.,
25
                  Defendants.
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 1                                    JOINT STATUS REPORT
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                   Plaintiff hereby submits the following joint status report to the Court:
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 4 STATUS OF PRODUCTIONS AND CONSOLIDATED PRIVILEG LOG
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         1. Pursuant to this Court’s order of April 19, 2022 (ECF 328), Plaintiff has
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            assembled a consolidated privilege log which lists the unresolved privilege
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 8          claims, the Select Committee’s objections, and plaintiff’s brief responses to the
 9
            objections. The privilege log is ready to be filed with the Court under seal and
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11          shared with opposing counsel pursuant to this Court’s previously established

12          procedures.
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         2. In preparing the consolidated privilege log, plaintiff has identified documents for
14
15          which the claim of privilege could be withdrawn in light of this Court’s March 28

16          ruling and other factors.1 Plaintiff will withdraw privilege claims with respect to
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            approximately 800 documents totaling over 10,000 pages. The documents will be
18
19          produced to the Select Committee and accordingly are not included on the

20          consolidated privilege log.
21
         3. As detailed below, the congressional defendants have stated that they wish to
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23          “evaluate the remaining privilege claims” in light of plaintiff’s withdrawal of a
24          significant number of such claims and submit a proposal for next steps “no later
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            than May 6.”
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     1
      Plaintiff preserves in full his objections to the March 28 order, as stated in the briefs and
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     at oral argument.
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 1     4. Plaintiff is prepared to submit the privilege log to the Court in its current form at
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          this time. However, in light of the congressional defendants announced intention
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 4        to evaluate the remaining privilege claims in light of plaintiff disclosures, plaintiff
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          proposes to submit the consolidated privilege log after the congressional
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          defendants have completed their review. This brief delay will hopefully result in
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 8        a condensed privilege log to submit to the Court.
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     REQUEST FOR LIMITED DISCOVERY ON THE CONGRESSIONAL
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     DEFENDANTS TO RESOLVE REMAINING CLAIMS
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12     1. This Court’s March 28 opinion ordered one item of privileged material produced
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          to the Select Committee pursuant to the so-called crime/fraud exception to
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15
          attorney client privilege and work product. As plaintiff argued to this Court at

16        that time, the Select Committee has not denied that it is in possession of evidence
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          which contradicts the factual findings underlying this Court’s crime fraud ruling.
18
19        See, ECF 172 (Plaintiff’s Motion for Exculpatory Evidence).

20     2. In the weeks since the March 28 order, the Select Committee has continued to
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          object to plaintiff’s privilege claims on the ground that the materials in question
22
23        might be susceptible to a crime fraud exception.

24     3. At the conclusion of final briefing in this matter, it is expected that the
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          congressional defendants will again ask this Court to find by a preponderance of
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27        the evidence that materials for which plaintiff has claimed privilege were used to
28        perpetuate crime or fraud. If this Court is to make such a finding, it is imperative
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 1       that all the material evidence be presented. The vast majority of this evidence is
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         in the Select Committee’s possession, inaccessible to Dr. Eastman.
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 4    4. For example, the congressional defendants presented evidence from former
 5
         Acting Attorney General Jeffrey Rosen that President Trump was told by multiple
 6
         advisors that material fraud and illegality occurred in the 2020 election. ECF 237
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 8       at 5 (Congressional Defendants’ Response to Plaintiffs Brief in Support of
 9
         Privilege Claims). Such evidence is directly contrary to this Court’s March 28
10
         finding that President Trump had been conclusively informed that there was no
11
12       material fraud or illegality. ECF 260 at 5.
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      5. The testimony from Mr. Rosen is but one example of important evidence that the
14
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         Select Committee is withholding from this Court. A fair resolution of this case

16       requires that all such evidence be put before the Court for consideration.
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      6. Dr. Eastman therefore requests permission to serve a reasonable number of
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19       Requests for Admission, Requests for Documents, and Interrogatories on the

20       congressional defendants.
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      7. On April 25, undersigned counsel conferred with counsel for the congressional
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23       defendants to attempt to reach agreement on discovery. The congressional

24       defendants object to any discovery.
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 1 REQUEST FOR ADDITIONAL DISCOVERY ON CHAPMAN UNIVERSITY
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     TO RESOLVE REMAINING CLAIMS
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 4     1. From the outset of this case, the congressional defendants have argued that Dr.
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          Eastman somehow waived privilege over the materials at issue here through his
 6
          use of a Chapman University email address.
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 8     2. To counter this argument, Dr. Eastman previously requested permission from the
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          Court to conduct limited early discovery on defendant Chapman University. ECF
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          231.
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12     3. The Court’s March 28 order did not find any privilege waiver related to Dr.
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          Eastman’s use of Chapman email. The Court denied plaintiff’s request for
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          discovery as moot. ECF 238.

16     4. However, in the weeks since this Court’s March 28 order, the congressional
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          defendants have continued to raise this objection in response to Dr. Eastman’s
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19        privilege claims. Undersigned counsel has conferred with counsel for the

20        congressional defendants who did not indicate any intention at the time to
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          abandon this argument. The issue is therefore expected to be put before the Court
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23        again during final briefing.

24     5. Dr. Eastman therefore renews his request, for the reasons stated in ECF 231, to
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          conduct limited discovery on Chapman University.
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 1 PROPOSED BRIEFING SCHEDULE
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      1. As the Court will recall, resolution of the privilege claims relating only to the
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 4       January 4-7 materials required substantial briefing from both parties.
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      2. The parties are now tasked with briefing the legal issues surrounding almost three
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         months’ worth of privileged materials, including addressing how this Court’s
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 8       March 28 order applies to the subsequent productions. This is a much more
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         substantial undertaking than the preliminary round of briefing ordered by the
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         Court.
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12    3. Dr. Eastman is prepared to serve limited discovery on the congressional
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         defendants by close of business on May 3 if permitted by the Court. Dr. Eastman
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         requests a period of two weeks following receipt of responses to the discovery to

16       file his opening brief.
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      4. If this Court is not inclined to permit time for discovery, Dr. Eastman requests at
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19       at least two weeks to prepare his opening brief.

20    5. Dr. Eastman requests 10 days to prepare his reply brief. As the Court will recall,
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         the congressional defendants raised novel and fact-intensive claims in their
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23       response to Dr. Eastman’s preliminary brief in support of Jan 4-7 privilege

24       claims. The reply brief in this case is therefore likely to be a major undertaking.
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      6. Dr. Eastman will defer to the Court on an appropriate time for defendants’
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27       response.
28 POSITION OF THE CONGRESSIONAL DEFENDANTS
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 1    1. The congressional defendants have communicated their position to undersigned
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         counsel as follows:
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 4             It is the Select Committee’s position that no discovery is
               warranted in this case. Furthermore, in light of representations
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               made by Plaintiff’s counsel and the anticipated withdrawal of a
 6             significant number of privilege claims, the Select Committee
               respectfully requests additional time to review the new
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               documents and evaluate the remaining privilege claims. The
 8             Select Committee will file a notice with the Court with a
               proposal for next steps by no later than May 6.
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10
11 April 29, 2022                                     Respectfully submitted,
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14
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11                                  CERTIFICATE OF SERVICE
12      I hereby certify that a copy of this filing has been served on opposing counsel by em.
13
                                                             By: /s/ Charles Burnham
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